        UNITED STATES COURT OF APPEALS
             FOR THE THIRD CIRCUIT


                   No. 25-1922


                KALSHIEX LLC,
                Plaintiff-Appellee,

                        v.

   MARY JO FLAHERTY AND MATTHEW J. PLATKIN
              Defendant-Appellants.


ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE DISTRICT OF NEW JERSEY
           CIVIL ACTION NO. 1:25-CV-02152


            BRIEF OF APPELLANTS
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                           INTRODUCTION
     Like many other States, New Jersey has regulated gambling for

over 125 years. For more than half that time, the federal government has
done so too. But despite enacting landmark gambling legislation in
nearly every decade since the 1940s, Congress has always accepted and

even incorporated state gambling laws. In Congress’s view, “the Federal
Government should prevent interference by one State with the gambling
policies of another, and should act to protect identifiable national inter-
ests,” but the “States should have the primary responsibility for deter-
mining what forms of gambling may legally take place within their
borders.” 15 U.S.C. § 3001(a). That is also the Supreme Court’s view: ab-

sent congressional action “regulat[ing] sports gambling directly,” the “le-
galization of sports gambling requires an important policy choice” to be
made by the States. Murphy v. NCAA, 584 U.S. 453, 486 (2018).
     But that is apparently not the view of Appellee KalshiEX LLC. For
the better part of a century, the Commodity Exchange Act has allowed
the Commodity Futures Trading Commission (CFTC) to regulate com-

modities trading. That trading has always occurred separate and apart
from the state-by-state multi-billion-dollar gaming industry. In Kalshi’s
telling, however, Congress silently undid decades of federal gambling pol-

icy and superseded all state gambling laws by adding the word “swaps”
to the CFTC’s “exclusive jurisdiction” as part of the 2010 Dodd-Frank re-
forms. The upshot is that Kalshi thinks it is exempt from state gambling


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laws simply because it offers sports wagers in a new format (called event
contracts) on a CFTC-designated market. Kalshi is wrong. The CFTC’s

jurisdiction does not include wagers based on the outcome of athletic
events and, even if it did, that would not preempt state gambling laws
under any theory of express or implied preemption. This Court should
reverse the preliminary injunction.

                  STATEMENT OF JURISDICTION
     The district court had federal-question jurisdiction under 28 U.S.C.
§§ 1331, 1343. This Court has jurisdiction under 28 U.S.C. § 1291.

               STATEMENT OF ISSUES ON APPEAL
     Whether the district court erred in finding that New Jersey’s Sports
Wagering Act, N.J. Stat. Ann. §§ 5:12A-10 to -19, and the New Jersey
Constitution, Article IV, § 7, ¶2(D) are likely preempted by the Commod-
ity Exchange Act, 7 U.S.C. §§ 1–27f.

                 STATEMENT OF RELATED CASES
     Appellants are not aware of any related pending cases.

                     STATEMENT OF THE CASE
     A.    New Jersey’s Historic Regulation Of Gambling.
     Throughout our Nation’s history, “regulation of gambling has been

largely left to the state legislatures.” United States v. King, 834 F.2d 109,
111 (6th Cir. 1987). As the Supreme Court explained, federal laws con-
cerning gambling “implement a coherent federal policy: They respect the



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policy choices of the people of each State on the controversial issue of
gambling.” Murphy, 584 U.S. at 484. In Congress’s own words, “the Fed-

eral Government should prevent interference by one State with the gam-
bling policies of another, and should act to protect identifiable national
interests,” but the “States should have the primary responsibility for de-
termining what forms of gambling may legally take place within their
borders.” 15 U.S.C. § 3001(a).
     For well more than a century, New Jersey has regulated gambling

within its borders. See Murphy, 584 U.S. at 458 (noting that in 1897, New
Jersey banned all gambling by constitutional amendment). Gambling in
New Jersey “is governed directly by the Constitution itself” as state law
has long maintained that “[g]ambling is an activity rife with evil” and
“mischief” affecting “the public welfare and morality.” Knight v. City of
Margate, 431 A.2d 833, 842 (N.J. 1981); see N.J. Const. art. IV, § 7, ¶2
(gambling may only be legalized through ballot measure).
     Many forms of gambling remained illegal in New Jersey until 1976,
when residents voted to amend the New Jersey Constitution and allow
gambling within Atlantic City. Murphy, 584 U.S. at 459; N.J. Const. art.
IV, § 7, ¶2(D). The following year, the New Jersey Legislature imple-
mented that constitutional amendment by enacting the Casino Control
Act, N.J. Stat. Ann. §§ 5:12-1 to -233, which regulates casinos within At-
lantic City. In doing so, the Legislature found that “the public confidence
and trust in the credibility and integrity of the regulatory process and of


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casino operations” was “[a]n integral and essential element of the regu-
lation and control of such casino facilities by the State.” Id. § 5:12-1(b)(6).

That statute also created the New Jersey Division of Gaming Enforce-
ment, id. § 5:12-55, and charged it with enforcing the Casino Control Act
and its implementing regulations, id. § 5:12-76(a).
      New Jersey also allows for sports wagering. In 2011, New Jersey-
ans voted to amend their Constitution to permit sports wagering, with
one caveat intended to protect student athletes from the potentially

harmful effects of sports betting—that “wagering shall not be permitted
on a college sport or athletic event that takes place in New Jersey or on
a sport or athletic event in which any New Jersey college team partici-
pates regardless of where the event takes place.” N.J. Const. art. IV, § 7,
¶2(D). Although that constitutional amendment was enjoined by the dis-
trict court and this Court, the Supreme Court in held in 2018 that a fed-
eral law prohibiting the state authorization of sports wagering violated
the U.S. Constitution. Murphy, 584 U.S. at 486. The Court also observed
that Congress had not elected to directly regulate sports wagering. Id.
      After that case, the New Jersey Legislature swiftly enacted the
Sports Wagering Act, N.J. Stat. Ann. §§ 5:12A-10 to -19. Under that law,
casinos and racetracks may obtain sports wagering licenses to “operate a
sports pool” in accordance with state law and regulations. Id. § 5:12A-
11(a). A “sports pool” is defined as “the business of accepting wagers on
any sports event by any system or method of wagering.” Id. § 5:12A-10.


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To be considered a “sports pool,” a business need not accept bets against
the “house”—rather, the definition includes any form of wagering, includ-

ing “exchange wagering.” Id. The holder of a sports wagering license “may
authorize an internet sports pool operator” to “operate an online sports
pool on its behalf provided the terms of the agreement are approved by
the [D]ivision [of Gaming Enforcement].” Id. § 5:12A-11(a); see id. § 5:12-
104(a)(12), (13). Conversely, “[n]o sports pool or online sports pool shall
be offered or made available for wagering to the public by any entity other

than a sports wagering licensee” or “an Internet sports pool operator, on
behalf of a sports wagering licensee.” Id. § 5:12A-11(c).
     Sports wagering licensees and operators must comply with New
Jersey’s statutory and constitutional requirements. See, e.g., id. §§ 5:12A-
10 to -11, -13(a) (listing requirements that operators must abide by to
receive or maintain a license); N.J. Admin. Code § 13:69O-1.2 (providing
general requirements for internet and mobile gaming). An operator must
provide documentation reflecting its “resources, including cash reserves,
that are sufficient to demonstrate that it has the financial stability, in-
tegrity, and responsibility to operate a sports pool or online sports pool.”
N.J. Stat. Ann. § 5:12A-13(a); see id. § 5:12-92(a)–(b). A sports-pool oper-
ator must also abide by state regulations, including “maintain[ing] a cash
reserve of an amount necessary to ensure the ability to cover both the
outstanding unpaid winning sport pool wagers and the outstanding sport
pool wagers where the outcome has not been determined.” N.J. Admin.


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Code § 13:69N-1.2(d). And an online sports-pool operator must “only ac-
cept wagers from patrons that have been affirmatively located as being

physically present in the State of New Jersey at the time of their wager.”
Id. § 13:69N-1.2(g). Internet or mobile gaming systems are likewise re-
quired to employ certain security measures like a geolocation system, age
restrictions, and others. See id. § 13:69O-1.2.
     Operators also must comply with the constitutional mandate pro-
hibiting sports wagers on college sports events taking place in New Jer-

sey or in which a New Jersey college team participates. N.J. Stat. Ann.
§ 5:12A-10. The Division conducts investigations, audits, and enforce-
ment actions to protect the public by ensuring that operators follow the
law. See id. § 5:12-76.
     B.    The Commodity Exchange Act.
     Separately, Congress has long regulated commodity futures. This
started with the Commodity Exchange Act in 1936, which delegated cer-
tain regulatory responsibilities for commodities trading to the Attorney
General and the Secretaries of Agriculture and Commerce. See Pub. L.

No. 74-675, 49 Stat. 1491 (1936) (codified at 7 U.S.C. §§ 1–27f). In so do-
ing, Congress established a regulatory framework for commodities con-
tracts to “manag[e] and assum[e] price risk,” 7 U.S.C. § 5(a), to “deter and

prevent price manipulation,” “ensure the financial integrity of all trans-
actions,” and protect “all market participants from fraudulent or other
abusive sales practices” through “a system of effective self-regulation,”


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id. § 5(b). In 1974, the Commodity Exchange Act was amended to create
the CFTC and grant it exclusive jurisdiction over transactions regulated

by the Act. See CFTC Act of 1974, Pub. L. 93-463, § 201, 88 Stat. 1389,
1395 (1974).
     The Act’s jurisdiction over “swap” transactions has changed over
time. Under the Commodity Futures Modernization Act of 2000, both the
CFTC and the Securities and Exchange Commission were barred from
regulating most swaps. Pub. L. 106-554, 114 Stat. 2763 (2000). But in

response to the 2008 financial crisis, Congress passed the Dodd-Frank
Wall Street Reform and Consumer Protection Act, which gave the SEC
regulatory authority over security-based swaps and gave the CFTC reg-
ulatory authority over all other swaps. See Pub. L. 111-203, § 722, 124
Stat. 1376, 1672 (2010). The Commodity Exchange Act defines “swaps”
to include “any agreement, contract, or transaction” that, among other
things, “provides for any purchase, sale, payment, or delivery” that “is
dependent on the occurrence, nonoccurrence, or the extent of the occur-
rence of an event or contingency associated with a potential financial,
economic, or commercial consequence.” 7 U.S.C. § 1a(47)(A)(ii).
     As a result, the Act now provides that the CFTC “shall have exclu-
sive jurisdiction” with respect to “accounts, agreements,” and “transac-
tions involving swaps or contracts of sale of a commodity for future
delivery” that are “traded or executed on a contract market designated
pursuant to section 7 of this title or a swap execution facility pursuant


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to section 7b-3 of this title or any other board of trade, exchange, or mar-
ket.” Id. § 2(a)(1)(A). That exclusive-jurisdiction provision includes two

savings clauses. The first provides: “Except as [provided in the exclusive-
jurisdiction provision], nothing contained in this section” shall “(I) super-
sede or limit the jurisdiction at any time conferred on the Securities and
Exchange Commission or other regulatory authorities under the laws of
the United States or of any State,” or “(II) restrict the Securities and Ex-
change Commission and such other authorities from carrying out their

duties and responsibilities in accordance with such laws.” Id. The other
provides: “Nothing in this section shall supersede or limit the jurisdiction
conferred on courts of the United States or any State.” Id.
     Through Dodd-Frank, Congress also amended the Act to add a self-
certification requirement for designated contract markets to offer new
publicly traded derivative contracts. Pub. L. 111-203, § 745, 124 Stat.
1376, 1735–36 (codified at 7 U.S.C. § 7a-2(c)). To do so, an entity that is
designated as a contract market may list new contracts on its exchanges
without agency pre-approval by providing the CFTC “a written certifica-
tion that the new contract” complies with the Act. 7 U.S.C. § 7a-2(c)(1).
The contract then becomes “effective,” and the entity may list the con-
tract for trading unless the CFTC notifies the contract market within ten
business days that it is staying the certification in order to review the
submission. Id. § 7a-2(c)(2). If the CFTC decides at any time to review




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the contract, it must take final action on that review within 90 days. Id.
§ 7a-2(c)(5)(C)(iv).

      Dodd-Frank also amended the Act to provide a “[s]pecial rule for
review and approval of event contracts.” Pub. L. 111-203, § 745, 124 Stat.
1376, 1736–37 (codified at 7 U.S.C. § 7a-2(c)(5)(C)). Under the statute’s
special rule, the CFTC “may determine” that “agreements, contracts,
transactions, or swaps in excluded commodities that are based upon the
occurrence, extent of an occurrence, or contingency”1 by “a designated

contract market” are “contrary to the public interest” and therefore pro-
hibited if “the agreements, contracts, or transactions involve,” “terror-
ism,” “assassination,” “war,” “gaming” or “activity that is unlawful under
any Federal or State law.” 7 U.S.C. § 7a-2(c)(5)(C)(i). If the CFTC deter-
mines that a contract is “contrary to the public interest,” it is prohibited
from being listed for trading. Id. § 7a-2(c)(5)(C)(ii).
      The legislative history makes clear that, through the special rule,
Congress intended to prevent “gambling through supposed ‘event con-
tracts,’” including “gaming contract[s],” which are “used predominantly

by speculators or participants not having a commercial or hedging inter-
est.” See 156 Cong. Rec. S5902, S5906–07 (daily ed. July 15, 2010),
https://tinyurl.com/57c352v4 (statements of Sen. Blanche Lincoln and

Sen. Dianne Feinstein). To that end, the CFTC promulgated a regulation,


      1 The definition of an “excluded commodity” mirrors the definition

of a “swap.” See 7 U.S.C. § 1a(19)(iv).

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which provides that “[a] registered entity shall not list for trading” a
“swap based upon an excluded commodity” that “involves, relates to, or

references,” among other things, “gaming, or an activity that is unlawful
under any State or Federal law.” 17 C.F.R. § 40.11(a)(1).
     C.    Kalshi And This Case.
     Kalshi is a CFTC-designated contract market where users can buy
and sell derivatives contracts known as “event contracts.” JA22 ¶12,
JA28 ¶37. The event contracts identify a future event and propose a bi-
nary yes/no question about whether that event will occur. JA23 ¶20.
Event contracts are traded on an exchange, and traders exchange posi-
tions with other traders in the marketplace. JA24 ¶21. A trader may pur-

chase the “yes” or “no” position of the event occurring. JA23 ¶20. If the
purchaser chooses the “yes” position, and the event occurs, the purchaser
is paid out. JA23. The payout depends on market perceptions about the
likelihood of the event’s occurrence and accordingly fluctuates between
the time of its creation and expiration date. JA24 ¶22. The ultimate value
of the outcome is determined at the contract’s expiration date. Id.

     In January 2025, Kalshi self-certified and began offering event con-
tracts related to the outcome of sports events on its exchange. JA29 ¶41.
These sports-related event contracts allow users to place positions on the

outcome of sports events, like which teams will advance in certain rounds
of the NCAA College Basketball Championship or who will win the U.S.




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Open Golf Championship. Id. Although the CFTC may review and pro-
hibit event contracts involving “gaming” or “activity that is unlawful un-

der any Federal or State law,” 7 U.S.C. § 7a-2(c)(5)(C)(i)(I), (V), the CFTC
has not yet taken action to review or prohibit Kalshi’s sports-related
event contracts, JA29 ¶41. Nonetheless, Representative Dina Titus, co-
chair of the Congressional Gaming Caucus, has called on the CFTC to
determine “if Kalshi filed a false certification” regarding its sports-re-
lated event contracts. Letter from Rep. Dina Titus to the Secretary of the

Commission, CFTC, at 2 (Apr. 1, 2025), https://tinyurl.com/y42b5jrf.
     After Kalshi began offering sports-related event contracts, the New
Jersey Division of Gaming Enforcement issued a cease-and-desist letter
to Kalshi in March 2025. JA37–38. The Division notified Kalshi that its
sports wagers offered to individuals located within New Jersey violated
the Sports Wagering Act, N.J. Stat. 5:12A-11, “which only permits li-
censed entities to offer sports wagering to patrons located in New Jersey,”
JA37. The Division also informed Kalshi that it was offering unauthor-
ized sports wagering to residents on collegiate sporting events occurring
in New Jersey in violation of the New Jersey Constitution’s prohibition
on such wagers. Id. (citing N.J. Const. art. IV, § 7, ¶2(D)). Because
Kalshi’s acceptance of unauthorized sports wagers violated state law, the
Division demanded Kalshi cease and desist from doing so. JA38.
     Kalshi then filed a complaint and a preliminary-injunction motion
against Appellants Mary Jo Flaherty, Interim Director of the Division of


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Gaming Enforcement, and Matthew J. Platkin, Attorney General of New
Jersey. JA22–23 ¶¶13–19. Kalshi alleged that the Commodity Exchange

Act preempts New Jersey’s Sports Wagering Act and N.J. Const. art. IV,
§ 7, ¶2(D), because it occupies the entire field of trading on CFTC-
regulated markets and because state law would frustrate the CFTC’s ex-
clusive authority to regulate designated exchanges. JA32–33 ¶¶59–60.
     The district court granted Kalshi’s preliminary-injunction motion
in April 2025. JA2. The court held Kalshi was likely to succeed in arguing

that the Act preempts New Jersey’s sports-wagering laws because the
Act’s exclusive-jurisdiction provision “reflects an intent to occupy the
field.” JA12–13. The court also found that Kalshi’s sports-wagering event
contracts fall within the Act’s exclusive-jurisdiction provision and disa-
greed that “sporting events are without potential financial, economic, or
commercial consequence.”2 JA14. Because it held that Kalshi had demon-

strated a sufficient chance of prevailing on its field-preemption claim, the
court did not consider conflict preemption. Id. The State timely appealed.

                     SUMMARY OF ARGUMENT
     New Jersey has a comprehensive licensing and regulatory regime
that protects minors from gambling, N.J. Admin. Code § 13:69O-1.2; en-
sures that sports-wagering operators are financially stable enough to


     2 The court also held that Kalshi was likely to suffer irreparable

harm to its reputation and that the remaining equitable factors weighed
in favor of an injunction. JA15–17.

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cover outstanding sports wagers, N.J. Stat. Ann. § 5:12A-13(a); N.J. Ad-
min. Code § 13:69N-1.2(d); facilitates detection of suspicious or illegal

betting activity, N.J. Stat. Ann. § 5:12A-11(i); and employs security
measures relating to anti-money laundering, cyber security, and identity
authentication, N.J. Admin. Code § 13:69O-1.2. The district court’s order
erroneously prevents New Jersey from enforcing those critical sports-wa-
gering laws. This Court should correct that error.
     I. Kalshi’s claim that federal law preempts New Jersey’s sports-wa-

gering laws fails for a threshold reason: its conduct lies outside federal
law. Kalshi’s case hinges on the idea that event contracts based on the
outcome of sporting events are “swaps” within the CFTC’s exclusive ju-
risdiction. But its theory has no limits: if a swap includes any transaction
tied to an event with some sort of financial or economic impact—like the
outcome of an athletic contest—it is difficult to imagine anything that
would not be a swap under the Commodity Exchange Act. That interpre-
tation would also impliedly repeal a raft of federal gambling laws and
upend a multi-billion-dollar industry by requiring every sports-wagering
business to register with the CFTC and to offer wagers exclusively on a
CFTC-regulated exchange. Congress did not intend to effect such a mas-
sive sea change in gambling regulation by inserting “swap” into the Com-
modity Exchange Act. Because Kalshi’s event contracts do not fall within
the Act, this case can end there.




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     II. Even if Kalshi’s conduct comes within the ambit of federal law,
however, its contention that the Commodity Exchange Act preempts New

Jersey sports-wagering laws would fail.
     A. Initially, Kalshi’s preemption theory is inconsistent with the text
and structure of federal law itself. All three categories of preemption—
express, field, and conflict—turn on Congress’s choice to displace state
law. So preemption is untenable where Congress expressly allows for the
relevant state laws. That perfectly describes this case: Congress has time

and again affirmed the States’ regulation of gambling within their bor-
ders. And the Commodity Exchange Act both expressly preserved state
laws and incorporated state laws into a special rule that determines al-
lowable event contracts. Congress’s decisions are fatal to Kalshi’s claim.
     B. Regardless, Kalshi cannot find support from any of the three tra-
ditional preemption categories. While the district court’s analysis focused
on field preemption, it based its analysis on the Act’s bare statement that
the CFTC has “exclusive jurisdiction” over the swaps (and other con-
tracts) on CFTC-regulated exchanges. But whether a two-word state-
ment of “exclusive jurisdiction” preempts state law is the province of
express preemption, which looks to the text of a single statutory provi-
sion. It is not a basis for field preemption, a category of implied preemp-
tion that requires a particularly comprehensive statutory scheme. And
not even Kalshi argues that the plain text of the Commodity Exchange
Act expressly preempts state gambling laws.


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     Stuffed into the box of field preemption, the Act’s assignment of “ex-
clusive jurisdiction” to the CFTC cannot meet that high bar. Field

preemption only “occurs when federal law occupies a ‘field’ of regulation
so comprehensively that it has left no room for supplementary state leg-
islation.” Murphy, 584 U.S. at 479. But no comprehensive federal scheme
exists to field preempt even complementary state regulation of sports wa-
gers just because they occur on CFTC-regulated exchanges.
     The case for conflict preemption is weaker still. Event contracts in-

volving “gaming” or “an activity that is unlawful under any State or Fed-
eral law” (like Kalshi’s) are prohibited by the Act’s special rule and its
implementing regulation. So Kalshi is offering event contracts in contra-
vention of federal law—a federal law that specifically embraces state
statutes—yet balking at New Jersey’s attempt to prohibit the same con-
duct. There is no conflict in those circumstances.

                       STANDARD OF REVIEW
     For a preliminary injunction, a movant must make “a clear show-
ing” that they are likely to succeed on the merits. Del. State Sportsmen’s
Ass’n, Inc. v. Del. Dep’t of Safety & Homeland Sec., 108 F.4th 194, 202 (3d

Cir. 2024). A movant’s failure to make this “threshold showing[] is fatal.”
Transcon. Gas Pipe Line Co., LLC v. Pa. Env’t Hearing Bd., 108 F.4th
144, 150 (3d Cir. 2024). This Court reviews a district court’s findings of
fact for clear error, legal conclusions de novo, and the decision to grant a



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preliminary injunction for abuse of discretion. Pyrotechnics Mgmt., Inc.
v. XFX Pyrotechnics LLC, 38 F.4th 331, 335 (3d Cir. 2022).

                              ARGUMENT
     The district court improperly halted New Jersey’s enforcement of
its sports-wagering laws. It held that Kalshi’s event contracts—which are
based on the outcome of sporting events—are “swaps” within the CFTC’s
“exclusive jurisdiction,” and that the Commodity Exchange Act preempts
state law. JA14. The court was wrong at both steps.
I.   Kalshi’s Event Contracts Do Not Fall Within The Act.
     Kalshi’s case hinges on the idea that event contracts based on the
outcome of sporting events are “swaps” within the “exclusive jurisdiction”
of the CFTC. JA26 ¶30, JA28 ¶35; D.N.J. Dkt. 2 (PI Br.) 5–6. But against

the historical backdrop of federal gambling laws, the Act’s text and struc-
ture show that Congress did not intend to effect a massive sea change in
gambling regulation by inserting the word “swap” to cover wagers on the
outcome of sporting events. Because Kalshi’s conduct does not even fall
within the Act, preemption necessarily cannot apply.
     Congress added the term “swap” to the Commodity Exchange Act
through the 2010 Dodd-Frank amendments. The Act now gives the CFTC
“exclusive jurisdiction” over “accounts, agreements,” and “transactions
involving swaps or contracts of sale of a commodity for future delivery”
that are “traded or executed” on a designated contract market or “any
other board of trade, exchange, or market.” 7 U.S.C. § 2(a)(1)(A). The Act


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then funnels swaps to CFTC-regulated markets by making it generally
unlawful “to enter into a swap unless the swap is entered into on, or sub-

ject to the rules of,” a designated contract market. Id. § 2(e). The statute
also “prohibits anyone from soliciting or accepting orders for swaps” if
“they are not registered with the CFTC as a futures commission mer-
chant.” CFTC v. Yukom Commc’ns Ltd., 2021 WL 4477874, at *1 (N.D.
Ill. Sept. 30, 2021); see 7 U.S.C. § 6d(a)(1). And any knowing or willful
violation of these provisions is a felony, with fines up to $1 million and

imprisonment up to ten years. See 7 U.S.C. § 13(a)(2), (5).
     To fall within those provisions at all, sports-related event contracts
must be “swaps.” The Act defines “swap” as “any agreement, contract, or
transaction” that, among other things, “provides for any purchase, sale,
payment, or delivery” that “is dependent on the occurrence, nonoccur-
rence, or the extent of the occurrence of an event or contingency associ-
ated with a potential financial, economic, or commercial consequence.”
7 U.S.C. § 1a(47)(A)(ii). The district court adopted Kalshi’s limitless def-
inition of a swap, holding that sports-related event contracts fall within
the Act because sporting events have a “potential financial, economic, or
commercial consequence” in the sense that there is an “economic impact”
in “television, advertising, and local communities.” JA14.
     That capacious view violates multiple hornbook interpretive rules.
To start, courts are “obligated to construe statutes sensibly and avoid




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constructions which yield absurd or unjust results.” United States v. Fon-
taine, 697 F.3d 221, 227 (3d Cir. 2012). But if the district court is correct

that a swap includes any transaction tied to an event with some sort of
financial or economic impact, then it is difficult to imagine anything that
would not be a swap within the CFTC’s “exclusive jurisdiction.” 7 U.S.C.
§ 2(a)(1)(A). Any person betting their friend $100 that he will miss his
Amtrak train is apparently now subject to CFTC oversight. Such a bet is
an “agreement” that provides for the “payment” of $100 “dependent on

the occurrence” of the friend missing his Amtrak train that has a “poten-
tial financial” impact on Amtrak. Id. § 1a(47)(A)(ii). So too for the local
raffle to benefit a charitable cause; it is now a CFTC-regulated “transac-
tion” that provides for the “payment” of money “dependent on the occur-
rence” of a random draw that has a “financial” impact on the charity. Id.
More to the point, Kalshi and the court’s “swap” interpretation covers
classic casino games and sports bets, which all involve wagers placed on
the outcome of some event with a financial impact for the casino and/or
sportsbook. And because the Act bans all swaps outside CFTC-regulated
exchanges, these charitable raffles, casinos, and sportsbooks are all vio-
lating federal law. Id. §§ 2(e), 6d(a)(1). Simply put, Kalshi’s unbounded
“swap” interpretation “defies rationality.” Riccio v. Sentry Credit, Inc.,
954 F.3d 582, 588 (3d Cir. 2020).
     That extreme interpretation—in which the bingo game at a senior-
citizen home now falls within the CFTC’s domain—is also contrary to the


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structure and history of Dodd-Frank. Congress added the term “swap” to
the Act to “charg[e] the CFTC with the task of illuminating previously

dark markets in the complex derivative instruments at the heart of the
[2008 financial] crisis.” Inv. Co. Inst. v. CFTC, 891 F. Supp. 2d 162, 174
(D.D.C. 2012), aff’d, 720 F.3d 370 (D.C. Cir. 2013). But gambling does not
involve “complex derivative instruments at the heart of the [2008 finan-
cial] crisis.” Id. And nothing about state-regulated gambling—let alone
sports gambling—occurs in “previously dark markets.” Id.

     To the contrary, by the time Congress added “swaps” to the Act in
2010, States had been regulating gambling for well over a century and
the federal government had been consistently regulating gambling for at
least half that time. See supra at 2–4. Just four years earlier, Congress
passed the Unlawful Internet Gaming Enforcement Act of 2006 to pro-
hibit acceptance of certain payments “in connection with the participa-
tion of another person in unlawful Internet gambling.” 31 U.S.C. § 5363.
And almost 60 years before that, federal law prohibited the operation of
gambling on American vessels. 18 U.S.C. § 1082(a). Between those laws,
Congress enacted the Wire Act of 1961 to largely criminalize the inter-
state transmission of bets or wagers on sporting events, 18 U.S.C.
§ 1084(a); the Johnson Act of 1962 to generally prohibit the interstate
transportation of “any gambling device,” 15 U.S.C. § 1172(a); the Illegal
Gambling Business Act of 1970 to transform certain state gambling vio-
lations into federal crimes, 18 U.S.C. § 1955; the Interstate Horseracing


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Act of 1978 to govern interstate horseracing wagers, 15 U.S.C. §§ 3003–
04; the Indian Gaming Regulatory Act of 1988 to give Native American

tribes “the exclusive right to regulate gaming activity on Indian lands,”
25 U.S.C. § 2701(5); and the Professional and Amateur Sports Protection
Act of 1992 to bar government entities from allowing gambling on com-
petitive sporting events, 28 U.S.C. § 3702.
     Under Kalshi’s theory (adopted by the district court), the singular
addition of the word “swap” would effect a massive transformation in fed-

eral gambling law. To name just a few examples, it would give the CFTC
exclusive authority to regulate interstate sports wagering that the Wire
Act prohibits. See 18 U.S.C. § 1084(a)–(b). It would reassign to the CFTC
the tribes’ authority to regulate wagering on tribal lands. See 25 U.S.C.
§ 2701(5). And it would allow persons to operate a wagering scheme un-
der the Act at a time when it was prohibited by federal law. See 28 U.S.C.
§ 3702.
     In other words, the logic of the district court’s holding is that Con-
gress impliedly repealed a myriad of other federal laws simply by insert-
ing “swaps” into the Act. But such implied repeals are strongly
disfavored. Epic Sys. Corp. v. Lewis, 584 U.S. 497, 510 (2018). And Con-
gress’s addition of the word “swap” does not come close to showing a “clear
and manifest” intent by Congress to “displace” preexisting federal laws.
Id. The definition of “swap” does not mention sports wagering at all. See
7 U.S.C. § 1a(47)(A)(ii). Nor does it “even hint at a wish to displace” other


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federal gambling laws, “let alone accomplish that much clearly and man-
ifestly, as our precedents demand.” Epic Sys., 584 U.S. at 511.

     The district court’s sweeping construction also contravenes the fun-
damental interpretive rule that Congress does not “hide elephants in
mouseholes.” Whitman v. Am. Trucking Ass’ns., Inc., 531 U.S. 457, 468
(2001). Under that interpretation, Congress’s 2010 “swap” amendment
granted the CFTC broad authority over sports wagering nationwide. But
“[w]e expect Congress to speak clearly when authorizing an agency to

exercise powers of vast economic and political significance.” Ala. Ass’n of
Realtors v. DHHS, 594 U.S. 758, 764 (2021) (per curiam).
     Given the broad array of federal gambling laws, Congress clearly
thought gambling (including sports gambling) was a matter “of vast eco-
nomic and political significance” that required landmark legislation in
nearly every decade since the 1940s. Id. Indeed, as the Supreme Court
observed, sports gambling is both a “controversial issue” and “immensely
popular” form of entertainment that has long been regulated by the
States. Murphy, 584 U.S. at 460, 484. And it involves enormous sums of
money. In 2024, commercial gaming collectively brought in $72.04 billion,
and generated $15.91 billion in gaming tax revenue for state and local
governments. See State of the States 2025, Am. Gaming Ass’n (May 13,
2025), https://tinyurl.com/5xey2yzy. Of that, sports wagering brought in
$13.78 billion nationwide. Id. In the first quarter of 2025 alone, sports




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wagering grew by 13.6%, generating $3.87 billion. See Commercial Gam-
ing Revenue Tracker, Am. Gaming Ass’n (May 16, 2025), https://ti-

nyurl.com/3x7av3kx.
     The single addition of “swap” is a “wafer-thin reed on which to rest
such sweeping power” to control gambling (including sports wagering)
throughout the country. Ala. Ass’n, 594 U.S. at 765. And although settled
precedent “require[s] Congress to enact exceedingly clear language if it
wishes to significantly alter the balance between federal and state

power,” Sackett v. EPA, 598 U.S. 651, 679 (2023), Congress’s addition of
“swap” to the Act does not remotely meet that standard.
     A better interpretive path is available. Swaps, as properly under-
stood, were indeed traded on “dark,” unregulated markets before the
2010 Dodd-Frank amendments. Inv. Co. Inst., 891 F. Supp. 2d at 174.
And swaps were generally considered to be “financial contracts in which
two counterparties agree to exchange or ‘swap’ payments with each other
as a result of such things as changes in a stock price, interest rate or
commodity price.” Id. at 171. This is borne out in the Act’s text, which
again defines a swap as “any agreement, contract, or transaction” that,
among other things, “provides for any purchase, sale, payment, or deliv-
ery” that “is dependent on the occurrence, nonoccurrence, or the extent
of the occurrence of an event or contingency associated with a potential
financial, economic, or commercial consequence.” 7 U.S.C. § 1a(47)(A)(ii).
Critical to that definition is the phrase “associated with.” In 2010 as now,


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“associated” commonly meant “join[ed] or connect[ed] together.” Asso-
ciated, Merriam-Webster’s Collegiate Dictionary (11th ed. 2003). Just

as in the phrase “lung cancer is associated with smoking,” an “event
or contingency” must be “join[ed] or connect[ed]” with “a potential fi-
nancial, economic, or commercial consequence” such that they rise and
fall together. Put differently, the best interpretation is that something
is a “swap” when the referenced “event or contingency” is inherently
“financial, economic, or commercial” in nature.

     This makes sense with the surrounding subclauses of the same
definition. Subclauses (i) and (iii) define a “swap” as an “option” or an
“exchange” of “payments” that is “based on the value, of 1 or more in-
terest or other rates, currencies, commodities, securities, instruments
of indebtedness, indices, quantitative measures, or other financial or
economic interests or property of any kind.” 7 U.S.C. § 1a(47)(A)(i),
(iii). The Act even lists examples, including an “interest rate swap,” a
“cross-currency rate swap,” “an equity index swap,” and a “credit de-
fault swap.” Id. § 1a(47)(A)(iii). Those examples are all tied to the idea
that the parties to the transaction transfer “the financial risk associ-
ated with a future change” in some quantitative measure “without
also conveying a current or future direct or indirect ownership inter-
est in an asset.” Id. And when “several items in a list share an attrib-
ute,” that “counsels in favor of interpreting the other items as
possessing that attribute as well.” Beecham v. United States, 511 U.S.


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368, 371 (1994). So a “swap” (as relevant here) is likewise limited to a
payment that depends on the “occurrence” of an “event” that is “joined

or connected” with a financial, economic, or commercial instrument or
measure. See 7 U.S.C. § 1a(47)(A)(ii).
     Here, Kalshi’s event contracts are not swaps because the outcome
of a sports game is not “joined or connected” with a financial, economic,
or commercial instrument or measure. For instance, the Phillies beating
the Blue Jays is not at all financial in nature. Kalshi itself acknowledged

as much in other litigation, arguing that “at least in general, contracts
relating to games—again, activities conducted for diversion or amuse-
ment—are unlikely to serve any ‘commercial or hedging interest.’” Appel-
lee’s Br. at 45, KalshiEX LLC v. CFTC, No. 24-5205, 2024 WL 4802698
(D.C. Cir. Nov. 15, 2024). Below, however, Kalshi argued that when Rory
McIlroy won the Masters “in a sudden-death playoff, television viewer-
ship rose by 33% over 2024, with enormous financial consequences for
CBS and advertisers.” D.N.J. Dkt.17 at 8–9. And the district court bought
that analogy. 3 JA14. But, as explained above, this stretches the Act past

its breaking point. Such an interpretation “lacks any real limits because,

     3 The court also relied on a law review article to find that “sports

bets may meet the requirement of a potential financial, commercial, or
economic consequence.” JA14 (citing Dave Aron & Matt Jones, States’ Big
Gamble on Sports Betting, 12 UNLV Gaming L.J. 53, 79–80 (2021)). But
the article merely opines that, in the case of sports betting generally, the
“potential financial, commercial, or economic consequence” requirement
“may or may not also be met.” Aron & Jones, supra, at 80.

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depending on the level of generality, any activity can be looked upon as
commercial.” United States v. Lopez, 514 U.S. 549, 565 (1995).

     It also misapprehends the event contracts at issue here. The rele-
vant “event” is the outcome of the game—i.e., whether Rory McIlroy or
Justin Rose wins the Masters—and not the game itself. Kalshi’s own self-
certification proves this point: the company self-certified to offer “Will
<team> win <title>? contract[s].” See KalshiEX LLC – CFTC Regulation
40.2(a) Notification Regarding the Initial Listing of the “Will <team> win

<title>?” Contract (Jan. 22, 2025), https://tinyurl.com/2bs44zfz. Setting
aside whether television viewership is itself financial in nature, Kalshi’s
example straightforwardly fails because the rise in television viewership
is unconnected to the relevant “event” (McIlroy’s win).
     To be sure, some transactions involving “gaming” may meet the def-
inition of “swap,” triggering the Act’s own special rule for event contracts.
7 U.S.C. § 7a-2(c)(5)(C)(i). For example, someone could place a $100 wa-
ger on the Eagles collecting over $650 million in revenue this year. That
is a “transaction” that provides for a “payment” to the winner that is “de-
pendent on the occurrence” of a specific revenue amount, which is “joined
or connected” with a financial measure. See id. § 1a(47)(A)(ii). That trans-
action also arguably involves “gaming”—the game of football—and there-
fore falls under the special rule. Id. § 7a-2(c)(5)(C)(i). But those are not
the kinds of sports-wagering contracts Kalshi offers. Rather, Kalshi of-
fers “sports-outcome contracts”: wagers on which team or person will win


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a particular athletic contest. JA29 ¶¶40–41. Because that is not a cate-
gory of events joined with “a potential financial, commercial, or economic

consequence,” they are not “swaps.”
      The district court failed to consider any of this in adopting Kalshi’s
overbroad interpretation of “swap.” This Court should reject its limitless
interpretation, along with the absurd result that the Act silently nullifies
numerous federal laws and makes the CFTC responsible for regulating
all walks of life. The Court can reverse on this basis alone.
II.   The Act Does Not Preempt New Jersey’s Gambling Laws.
      Even assuming Kalshi is offering “swaps” covered by the Act, its
preemption theories fail. The Supremacy Clause “specifies that federal

law is supreme in case of a conflict with state law.” Murphy, 584 U.S. at
477; U.S. Const. art. VI, cl. 2. Such federal preemption can arise in three
ways: (1) express preemption; (2) field preemption; or (3) conflict preemp-
tion. Klotz v. Celentano Stadtmauer & Walentowicz LLP, 991 F.3d 458,
463 (3d Cir. 2021). “In every preemption case, our inquiry is guided by
two principles.” Pennsylvania v. Navient Corp., 967 F.3d 273, 288 (3d Cir.
2020). First, “the intent of Congress is the ultimate touchstone of preemp-
tion analysis.” Id.; Medtronic, Inc. v. Lohr, 518 U.S. 470, 485, (1996). Sec-
ond, “all preemption cases ‘start with the assumption that the historic

police powers of the States were not to be superseded by the Federal Act
unless that was the clear and manifest purpose of Congress.’” Sikkelee v.




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Precision Airmotive Corp., 822 F.3d 680, 687 (3d Cir. 2016) (quoting Wy-
eth v. Levine, 555 U.S. 555, 565 (2009)); see Lupian v. Joseph Cory Hold-

ings, 905 F.3d 127, 131 & n.5 (3d Cir. 2018) (presumption applies even to
express preemption). That presumption is at its strongest when Congress
has legislated “in a field which the States have traditionally occupied.”
Medtronic, 518 U.S. at 485; see Navient, 967 F.3d at 288 (same).
     Gambling is exactly such a field. States have long regulated gam-
bling, which lies at the core of their traditional police powers. See Ah Sin

v. Wittman, 198 U.S. 500, 505–06 (1905) (“The suppression of gambling
is concededly within the police powers of a state.”); WV Ass’n of Club
Owners & Fraternal Servs. v. Musgrave, 553 F.3d 292, 302 (4th Cir. 2009)
(“[R]egulating gambling is at the core of the state’s residual powers as a
sovereign in our constitutional scheme.”); Hawkeye Commodity Promo-
tions, Inc. v. Vilsack, 486 F.3d 430, 439 (8th Cir. 2007) (same); Artichoke
Joe’s Cal. Grand Casino v. Norton, 353 F.3d 712, 737 (9th Cir. 2003)
(same); Johnson v. Collins Entm’t Co., 199 F.3d 710, 720 (4th Cir. 1999)
(same); United States v. Washington, 879 F.2d 1400, 1401 (6th Cir. 1989)
(similar). The reason is obvious: gambling is a potentially harmful “vice
activity.” Greater New Orleans Broad. Ass’n v. United States, 527 U.S.
173, 185 (1999). And States may act in that area to promote the “welfare,
safety, and morals” of their citizens. Artichoke Joe’s, 353 F.3d at 737.
     Particularly given that presumption, Kalshi cannot meet its heavy
burden to establish that New Jersey law is preempted. Because federal


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gambling law generally, and the Commodity Exchange Act specifically,
acknowledge the applicability of state laws, there can be no preemption

under any possible theory. But even examined individually, none of the
three preemption categories—express, field, or conflict—indicate that the
Commodity Exchange Act supersedes the Sports Wagering Act.
     A.    Kalshi’s Preemption Theories Are All Foreclosed By
           The Text And Structure Of Federal Law.
     As an initial matter, Kalshi’s preemption theories necessarily fail

because Congress has repeatedly confirmed that the States retain their
traditional role in regulating gambling and has acknowledged the ap-
plicability of state law in the Act itself. Because Congress decides when

preemption is appropriate, there can be no preemption where Congress
has expressly allowed for the relevant state laws.
     Federal law has long recognized the States’ principal role in regu-
lating gambling. Just four years after creating the CFTC, Congress made
abundantly clear that while “the Federal Government should prevent in-
terference by one State with the gambling policies of another, and should
act to protect identifiable national interests,” States “have the primary
responsibility for determining what forms of gambling may legally take
place within their borders.” 15 U.S.C. § 3001(a).

     And Congress has repeatedly enshrined this principle across nu-
merous federal gambling laws by incorporating state laws. For example,
the Wire Act criminalizes interstate transmission of bets or wagers on



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sporting events, 18 U.S.C. § 1084(a), but exempts “bets or wagers on a
sporting event or contest from a State or foreign country where betting

on that sporting event or contest is legal into a State or foreign country
in which such betting is legal, id. § 1084(b). Likewise, the Unlawful In-
ternet Gaming Enforcement Act prohibits acceptance of certain pay-
ments “in connection with the participation of another person in unlawful
Internet gambling.” 31 U.S.C. § 5363. But the definition of “unlawful In-
ternet gambling” hinges on state law, id. § 5362(10)(A), excludes intra-

state transactions where gambling is legal under state law, id.
§ 5362(10)(B), and does nothing to alter state regulation of gambling, id.
§ 5361(b). The Indian Gaming Regulatory Act similarly accommodates
state law: it allows Class III gaming activities (including sports gam-
bling) on tribal land only if it occurs in a State that permits such gaming
and there is a tribal-state compact covering issues like revenue sharing.
25 U.S.C. § 2703(8); id. § 2710(d).
     Federal gambling laws’ endorsement of historic state authority does
not stop there. The Johnson Act prohibits the interstate transportation
of “any gambling device,” except when doing so is “lawful” under state
law. 15 U.S.C. § 1172(a). The aptly named Gambling Ships Act also pre-
vents the operation of gambling on American vessels, but only insofar as
it is “not within the jurisdiction of any State.” 18 U.S.C. § 1082(a) (em-
phasis added). Similarly, the Interstate Horseracing Act “outlines the ex-
clusive procedures by which a ‘person’ can accept interstate off-track


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wagers, striking a delicate balance between state authority over intra-
state activity and Congress’s powers over interstate commerce.” Church-

ill Downs Tech. Initiatives Co. v. Michigan Gaming Control Bd., 767 F.
Supp. 3d 556, 566 (W.D. Mich. 2025) (citing 15 U.S.C. §§ 3003–04). And
the Illegal Gambling Business Act actually transforms state gambling
violations into federal crimes when five or more people manage a gam-
bling business that is illegal under state law and runs continuously for
more than thirty days or makes more than $2,000 in any single day. 18

U.S.C. § 1955.
     Even when Congress sought to ban sports betting through the Pro-
fessional and Amateur Sports Protection Act, it grandfathered in States
where such betting was legally operating under state law. See Murphy,
584 U.S. at 462; 28 U.S.C. § 3704(a). And in eventually holding that law
unconstitutional, the Supreme Court was clear that the “legalization of
sports gambling requires an important policy choice” to be made by the
States. Murphy, 584 U.S. at 486. Congress may preempt state law by
“regulat[ing] sports gambling directly, but if it elects not to do so, each
State is free to act on its own.” Id. Time and again, the same rule applied:
the States retain authority to regulate gambling.
     Against this decades-long backdrop, it makes little sense to inter-
pret the Commodity Exchange Act—a statute concerned with the trading
of commodity futures—as silently stripping the States’ ability to regulate




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gambling within their borders. As the Supreme Court has repeatedly ex-
plained, “[t]he case for federal pre-emption is particularly weak where

Congress has indicated its awareness of the operation of state law in a
field of federal interest, and has nonetheless decided to stand by both
concepts and to tolerate whatever tension there is between them.” Wyeth
v. Levine, 555 U.S. 555, 575 (2009) (quoting Bonito Boats v. Thunder
Craft Boats, Inc., 489 U.S. 141, 166–67 (1989)). That is exactly what hap-
pened here: Congress accepted the application of state gambling laws for

decades and said nothing in the Act to supersede that well-established
authority just because wagers are offered on a market that also happens
to be regulated by the CFTC. Congress’s “silence on the issue, coupled
with its certain awareness of the prevalence of ” state gambling laws, “is
powerful evidence that Congress did not intend” CFTC “oversight to be
the exclusive means of” preventing unlawful gambling. Id.
     “If Congress thought” state gambling laws hampered the CFTC’s
ability to oversee its regulated markets, “it surely would have enacted an
express pre-emption provision at some point.” Id. at 574. In fact, Con-

gress did include two express-preemption provisions in the Act—but not
for the event contracts Kalshi offers. One provision “supersede[s] and
preempt[s] the application of any” state law “that prohibits or regulates
gaming or the operation of bucket shops” in certain narrow situations
inapplicable here. 7 U.S.C. § 16(e)(2). Another provision expressly




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preempts state insurance laws as applied to swaps. Id. § 16(h). Yet no-
where does the Act expressly preempt state gambling laws—which Con-

gress     specifically   addressed   in    the   former   express-preemption
provision—as applied to all event contracts on CFTC-regulated markets.
That omission does not “entirely foreclose[] any possibility of implied pre-
emption.” Freightliner Corp. v. Myrick, 514 U.S. 280, 288 (1995). But it
is strong evidence that Congress did not intend to wholesale override
state gambling laws; “a statutory provision explaining when and how

state regulation is to be preempted would hardly be necessary in a stat-
ute manifesting Congress’s intent to occupy a particular regulatory field.”
Baltimore & Ohio R.R. Co. v. Oberly, 837 F.2d 108, 113 (3d Cir. 1988).
Put simply, “Congress’ enactment of a provision defining the pre-emptive
reach of a statute implies that matters beyond that reach are not pre-
empted.” Cipollone v. Liggett Grp., Inc., 505 U.S. 504, 517 (1992); Am.
Apparel & Footwear Ass’n, Inc. v. Baden, 107 F.4th 934, 943 (9th
Cir. 2024) (same).
        Congress actually went out of its way to preserve state law. Where
a transaction—like Kalshi’s sports-related event contracts—does not fall
within the CFTC’s “exclusive jurisdiction,” the Act makes clear that
“nothing contained in this section” shall “(I) supersede or limit the juris-
diction at any time conferred on the Securities and Exchange Commis-
sion or other regulatory authorities under the laws of the United States
or of any State,” or “(II) restrict the Securities and Exchange Commission


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and such other authorities from carrying out their duties and responsi-
bilities in accordance with such laws.” 7 U.S.C. § 2(a)(1)(A). Still more,

Congress specified that “[n]othing in this section shall supersede or limit
the jurisdiction conferred on courts of the United States or any State.” Id.
     These savings clauses are “fundamentally incompatible” with
preemption, especially field preemption, because “if Congress intended to
preempt the entire field there would be nothing to ‘save,’ and the provi-
sion would be mere surplusage.” Farina v. Nokia Inc., 625 F.3d 97, 121

(3d Cir. 2010); Knepper v. Rite Aid Corp., 675 F.3d 249, 262 (3d Cir. 2012)
(same); Int’l Paper Co. v. Ouellette, 479 U.S. 481, 492 (1987) (agreeing a
savings clause “negates the inference that Congress left no room for state
causes of action”). Courts interpreting these clauses agree: Congress “did
not manifest an intent to occupy completely the entire field of commodity
futures regulation.” See, e.g., Effex Capital, LLC v. Nat’l Futures Ass’n,
933 F.3d 882, 894 (7th Cir. 2019); Am. Agric. Movement, Inc. v. Bd. of
Trade, 977 F.2d 1147, 1155 (7th Cir. 1992) (holding this “savings clause”
is “designed to preserve in the futures trading context at least some state
law causes of actions”); accord Kerr v. First Commodity Corp., 735 F.2d
281, 288 (8th Cir. 1984). In fact, the latter savings clause was added pre-
cisely to allay fears that the Act “might oust the courts’ jurisdiction over
typical state law claims.” Patry v. Rosenthal & Co., 534 F. Supp. 545,
548–49 (D. Kan. 1982).




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      Those typical state-law claims include state enforcement actions in
state court against violators of state law—exactly how New Jersey would

enforce its gambling laws against Kalshi. See N.J. Stat. Ann. § 5:12A-11;
id. § 5:12-77; id. § 5:12-112; id. § 5:12-127. For its part, the district court
properly recognized that “[o]f course state courts retain jurisdiction over
claims such as private fraud actions.” JA13. But the court never ex-
plained why private individuals are free to pursue their state-law claims
in state court while the State itself is preempted from doing the same.

That nonexplanation is understandable: if the Act prevented States from
bringing state-court actions they could otherwise bring, then it “super-
sede[ed] or limit[ed] the jurisdiction” of state courts, in direct contraven-
tion of the savings clause. 7 U.S.C. § 2(a)(1)(A).
      Beyond repeatedly accommodating state law and including savings
clauses to protect state law, Congress even explicitly incorporated state
law into the special rule that governs the event contracts at issue here.
See id. § 7a-2(c)(5)(C)(i). The special rule provides that “swaps in excluded
commodities that are based upon the occurrence, extent of an occurrence,
or contingency” are “contrary to the public interest” and therefore pro-
hibited if they involve “gaming” or an “activity that is unlawful under any
Federal or State law.” Id.; see also 17 C.F.R. § 40.11(a)(1). As explained
above, Congress well knew that States historically regulated “gaming”
and it repeatedly accepted those state regulations. More to the point,
however, Congress overtly incorporated “activity that is unlawful under


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any Federal or State law” into the Act’s prohibited categories. 7 U.S.C. §
7a-2(c)(5)(C)(i).

      And where “a federal statute expressly incorporates state law,” it
makes sense that a “preemption analysis is inappropriate.” Cf. Power v.
Arlington Hosp. Ass’n, 42 F.3d 851, 864 (4th Cir. 1994). Just as there is
no preemption if state law incorporates federal law, there is no preemp-
tion when federal law incorporates state law either. Compare California
v. Zook, 336 U.S. 725, 735 (1949) (state law incorporates federal law), and

Zyla Life Scis., L.L.C. v. Wells Pharma of Houston, L.L.C., 134 F.4th 326,
332 (5th Cir. 2025) (same), with Just Puppies, Inc. v. Brown, 123 F.4th
652, 662 (4th Cir. 2024) (a federal law’s “acknowledgement of concurrent
state and local” regulation “demonstrates that Congress did not intend
for the [federal law] to occupy the field . . . to the exclusion of state law”),
and Pueblo of Pojoaque v. New Mexico, 863 F.3d 1226, 1236 (10th Cir.
2017) (“Because [the Indian Gaming Regulatory Act] expressly contem-
plates parallel state laws, there is no manifestation of congressional in-
tent to preempt the field”). After all, “States may have a legitimate
interest in punishing or providing redress for wrongs even if federal law
already does so,” and vice versa. Zyla, 134 F.4th at 333. States are hardly
preempted, for example, from enforcing their own laws against murder,
kidnapping, and gambling simply because federal RICO law uses those
state laws as the basis for a federal prohibition. 18 U.S.C. §§ 1961–62.




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     So too here. Congress’s incorporation of “activity that is unlawful
under any Federal or State law” proves it had no intention of preempting

state law. 7 U.S.C. § 7a-2(c)(5)(C)(i). The district court dismissed this
logic out of hand, explaining that “‘unlawful under any Federal or State
law’ refers to the underlying event rather than the act of staking money
on that event.” JA13. But true or not, that is beside the point. The inquiry
here is whether it was the “clear and manifest purpose of Congress” to
preempt generally applicable state laws just because they touch a market

that might also be regulated by the CFTC. Sikkelee, 822 F.3d at 687; see
Oneok, Inc. v. Learjet, Inc., 575 U.S. 373, 385 (2015) (emphasizing “the
importance of considering the target at which the state law aims in de-
termining whether that law is pre-empted”). And the special rule’s refer-
ence to “gaming”—an area long regulated by the States and accepted by
Congress—as well as to “activity that is unlawful under” any state law,
plainly indicates that the answer is no.
     Of course, the CFTC may examine whether an activity is “gaming”
or is “unlawful” under state law in determining whether to allow event
contracts on designated contract markets. See 7 U.S.C. § 7a-2(c)(5)(C)(i).
But, contrary to the district court’s conclusion, that does not mean the
CFTC is the only one responsible for doing so. See JA12–14. State regu-
latory authorities simultaneously apply their own laws. To hold other-
wise would make the CFTC—a federal agency responsible for regulating
U.S. derivatives markets—the final arbiter of state laws ranging from


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criminal law to election law to sports wagering in more than 50 jurisdic-
tions covering 340 million people. Put differently, in Kalshi’s world, the

CFTC’s construction of an ambiguous state gaming statute would become
authoritative because the CFTC alone would have the power to enforce
it. That result would be bizarre; even federal courts do not authoritatively
interpret state law. See Pinho v. Gonzales, 432 F.3d 193, 212 (3d Cir.
2005); Speiser v. Randall, 357 U.S. 513, 522 n.7 (1958) (noting it is a
“basic constitutional principle that the construction of state laws is the

exclusive responsibility of the state courts”). And “the respect that federal
courts owe the States” is “owed no less by federal agencies than by federal
courts.” Pinho, 432 F.3d at 212. So Congress’s incorporation of state law
into the special rule was plainly meant to parallel, not usurp, the States’
enforcement of their own laws.
     Given that “the intent of Congress is the ultimate touchstone of
preemption analysis,” Navient, 967 F.3d at 288, preemption is untenable
here. Congress has accepted state gambling laws for decades. And in the
Commodity Exchange Act, it preempted some state gambling laws with-
out preempting those at issue, it explicitly preserved state laws and state-
court jurisdiction, and it incorporated state law into the special rule that
determines allowable event contracts. Combined, the text and structure
of federal law indicate Congress’s plain intent to account for—not to fore-
close—state legislation.




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     B.    New Jersey’s Sports Wagering Act Is Not Express
           Preempted, Field Preempted, or Conflict Preempted.
     Even examined individually, none of the three preemption catego-
ries—express, field, or conflict—indicate that the Act supersedes New
Jersey’s Sports Wagering Act.
           1.    Everyone Agrees There is No Express Preemp-
                 tion.
     The district court misunderstood the governing preemption frame-
work. The decision below rests on just two words in the Act: “exclusive
jurisdiction.” JA12–14. The CFTC’s “exclusive jurisdiction” over “swaps”
on certain exchanges, the district court held, “reflects an intent to occupy
the field.” JA12–14. But even assuming that Kalshi’s event contracts are
“swaps” at all, that analysis misunderstands preemption.
     At bottom, whether a single, explicit statutory provision preempts
state law is not the province of field preemption but express preemption.
Field preemption is necessarily a form of implied preemption; it “focuses
on when Congress does not expressly preempt state law but where federal
law leaves no room for state regulation.” Navient, 967 F.3d at 287 (em-
phasis added); Kansas v. Garcia, 589 U.S. 191, 208 (2020) (explaining
that field preemption is a form of “preempt[ion] by implication”). In con-
trast, express preemption is meant to analyze situations where Congress

“exert[ed] its supremacy by expressly preempting state law” via an ex-
plicit textual provision. Sikkelee, 822 F.3d at 687. And that is exactly how
the district court should have analyzed the Act’s exclusive-jurisdiction


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provision: it should have asked whether the Act’s use of the term “exclu-
sive jurisdiction” expressly preempts state law. Cf. Transcon. Gas Pipe

Line Co., LLC v. Pa. Env’t Hearing Bd., 108 F.4th 144, 151–52 (3d Cir.
2024) (explaining that the “explicit statutory conferral of exclusive juris-
diction to a federal court over a particular subject matter is a form of
express preemption”). But there is a reason Kalshi has never argued for
express preemption: the text does not support it.
     “Express preemption requires an explicit statement of federal law

that announces and defines the scope of displaced state regulation.” Id.
The U.S. Code is littered with such statutory provisions superseding and
preempting state law in so many words. See, e.g., 5 U.S.C. § 8902(m)(1)
(“The terms of any contract under this chapter which relate to the nature,
provision, or extent of coverage or benefits . . . shall supersede and
preempt any State or local law, or any regulation issued thereunder,
which relates to health insurance or plans.”); 29 U.S.C. § 1144(a) (the
provisions of ERISA “shall supersede any and all State laws insofar as
they may now or hereafter relate to any employee benefit plan described
in section 1003(a) of this title and not exempt under section 1003(b) of
this title”); 49 U.S.C. § 14501(c)(1) (“Except as provided in paragraphs (2)
and (3), a State . . . may not enact or enforce a law, regulation, or other
provision having the force and effect of law related to a price, route, or
service of any motor carrier . . . or any motor private carrier, broker, or
freight forwarder with respect to the transportation of property.”). The


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Act itself contains express preemption clauses too. See 7 U.S.C. § 16; see
supra 31–32.

     Put simply, Congress knows how to expressly preempt state law
when it wants to. And it did not do so here. Far from “an explicit state-
ment of federal law that announces and defines the scope of displaced
state regulation,” Transcon. Gas, 108 F.4th at 151–52, the Act’s exclu-
sive-jurisdiction provision uses just those two words—“exclusive jurisdic-
tion”—and    then   expressly    preserves   state    law   and   state-court

jurisdiction, 7 U.S.C. § 2(a)(1)(A); see supra 32–34. It is therefore no sur-
prise that Kalshi has never argued for express preemption. But that is
the proper framework for interpreting the Act’s exclusive-jurisdiction
provision, and it should be fatal to Kalshi’s case.
            2.   There Is No Comprehensive Federal Scheme To
                 Imply Field Preemption.
     Without any express preemption, the district court was left to use
the Act’s exclusive-jurisdiction provision to support its holding of field
preemption. JA12 (citing 7 U.S.C. § 2(a)(1)(A)). But field preemption only
“occurs when federal law occupies a ‘field’ of regulation so comprehen-
sively that it has left no room for supplementary state legislation.” Mur-
phy, 584 U.S. at 479; Transcon. Gas, 108 F.4th at 156. And the Act does

not so comprehensively displace state sports-wagering laws.




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      Other field-preemption cases demonstrate the high bar that ap-
plies. Field preemption is only justified upon “a demonstration that com-

plete ouster of state power”—including “state power to promulgate laws
not in conflict with federal laws”—“was the clear and manifest purpose
of Congress.” DeCanas v. Bica, 424 U.S. 351, 357 (1976). So the “essential
field preemption inquiry is whether the density and detail of federal reg-
ulation merits the inference that any state regulation within the same
field will necessarily interfere with the federal regulatory scheme.” Knox

v. Brnovich, 907 F.3d 1167, 1174 (9th Cir. 2018). That high standard is
met only in “rare cases.” Garcia, 589 U.S. at 208. For example, there is a
“comprehensive, complex, and national” scheme governing how nonciti-
zens may enter or be removed from the country. United States v. Texas,
97 F.4th 268, 285 (5th Cir. 2024). A similarly comprehensive statutory
framework governs nuclear safety, like whether someone can “build and
run a nuclear power plant.” Virginia Uranium v. Warren, 587 U.S. 761,
768 (2019) (lead op.); Dayton Power & Light Co. v. FERC, 126 F.4th 1107,
1129 (6th Cir. 2025) (same). So too for in-air flight operations, which are
covered by an “intricate web of statutory provisions.” Abdullah v. Am.
Airlines, Inc., 181 F.3d 363, 370 (3d Cir. 1999) (quoting French v. Pan Am
Exp., Inc., 869 F.2d 1, 4 (1st Cir. 1989)).
      Nothing remotely approaching a comprehensive federal scheme ex-
ists to field preempt even complementary state regulation of sports wa-
gers if they happen to occur on CFTC-regulated exchanges. The most


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Kalshi identified below are federal regulations that lay out the proce-
dures for an entity to become an CFTC-regulated exchange and, after it

does, certain recordkeeping requirements, reporting obligations, and li-
quidity standards. PI Br. 16–17. But that runs into two problems. For
one, field preemption cannot be inferred from regulations alone. See
Hillsborough County v. Automated Med. Labs., Inc., 471 U.S. 707, 717
(1985); Farina, 625 F.3d at 121. For another, this case has nothing to do
with the mechanics of how an entity becomes a CFTC-regulated exchange

or what it must do procedurally to maintain that status.
      This case is about what event contracts a CFTC-regulated exchange
can offer, and, specifically, whether it can offer sports wagers in violation
of state law. The only provisions speaking to that question are the special
rule and its implementing regulation. See 7 U.S.C. § 7a-2(c)(5)(C)(i); 17
C.F.R. § 40.11(a). And those two (largely identical) provisions each have
fewer than 400 words, a far cry from the reams of the U.S. Code devoted
to noncitizen removal, nuclear safety, or in-air flight operations. See su-
pra 41. Plus the special rule and its implementing regulation outright
prohibit event contracts involving “gaming”—long regulated by the
States and accepted by Congress—and “activity that is unlawful under”
any state law. See supra 34–37. Given Congress’s “hesitation to override
all state law” in this area and its “recognition of a role for state regulation
within the field,” the Act does not “so thoroughly occup[y] a legislative




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field” that “Congress left no room for the States to supplement it.” Farina,
625 F.3d at 121–22.

     The district court did not perform that type of preemption analysis.
It instead hinged its entire holding on a statutory provision noting the
CFTC’s “exclusive jurisdiction” over certain financial transactions.
JA12–14. But two words is hardly a “comprehensive” framework. Since
at least the 1940s, the Supreme Court has held that Congress “must do
much more to oust all of state law from a field” than simply “granting

regulatory authority over [some] subject matter to a federal agency.”
Kurns v. R.R. Friction Prods. Corp., 565 U.S. 625, 638 (2012) (Kagan, J.,
concurring); id. at 640–41 (Sotomayor, J., concurring in part) (same); see
Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947). This Court has
rejected similar arguments before. See Farina, 625 F.3d at 121 (no field
preemption despite “Congress’s delegation of ‘exclusive authority’” over
radio-frequency-emission regulation). And it should do so again here.
     In fact, using the CFTC’s “exclusive jurisdiction” as the basis for
field preemption does not even make sense on its own terms. As noted
above, the CFTC’s “exclusive jurisdiction” covers not just “swaps” on reg-
ulated exchanges but also “swaps” on “any other board of trade, exchange,
or market.” 7 U.S.C. § 2(a)(1)(A); see supra 16–17. And the Act outlaws
“swaps” outside CFTC-regulated exchanges. 7 U.S.C. § 2(e); id. § 6d(a)(1);
see supra 17–18. So under Kalshi’s theory, any wager placed on the out-
come of any event—including raffles or classic casino games—would also


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be a swap subject to the CFTC’s “exclusive jurisdiction.” See supra 18.
And if “exclusive jurisdiction” truly equates to field preemption, then the

Act occupies the field of not only “futures trading on CFTC-regulated ex-
changes” as Kalshi would have it (PI Br. 13), but of all gaming regulation
in the country. That is untenable. Congress did not field preempt every
state gambling law in America (or impliedly repeal every federal gam-
bling law) by adding “swaps” to the “exclusive jurisdiction” of a federal
agency responsible for regulating U.S. derivatives markets.

     Instead, “exclusive jurisdiction” has a different function entirely: it
gives the CFTC sole regulatory authority over certain transactions as dis-
tinct from other federal agencies. “The aim of this provision, according to
one of its chief sponsors, was to ‘avoid unnecessary, overlapping and du-
plicative regulation,’ especially as between the Securities and Exchange
Commission and the new CFTC.” FTC v. Ken Roberts Co., 276 F.3d 583,
588 (D.C. Cir. 2001) (citing 120 Cong. Rec. H34,736 (Oct. 9, 1974) (re-
marks of House Agriculture Committee Chairman)); see Jones v. B.C.
Christopher & Co., 466 F. Supp. 213, 219 (D. Kan. 1979) (describing “spat
between the CFTC and SEC concerning the frontiers of their respective
jurisdictions” as basis for CFTC exclusive jurisdiction)).
     The Act’s text bears this out. The first savings clause in the exclu-
sive-jurisdiction provision explicitly draws the distinction between CFTC
and SEC authority: outside of the CFTC’s “exclusive jurisdiction,” “noth-
ing contained in this section shall (I) supersede or limit the jurisdiction


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at any time conferred on the Securities and Exchange Commission or
other regulatory authorities under the laws of the United States or of any

State,” or “(II) restrict the Securities and Exchange Commission and such
other authorities from carrying out their duties and responsibilities in
accordance with such laws.” 7 U.S.C. § 2(a)(1)(A). This is reinforced by
other provisions of the Act. See, e.g., id. § 2(a)(1)(D)(i) (“Notwithstanding
any other provision of this chapter, the Securities and Exchange Com-
mission shall have jurisdiction and authority over security futures as de-

fined in section 3(a)(55) of the Securities Exchange Act of 1934.”). Put
simply, the exclusive-jurisdiction provision merely reflects Congress’s
concern about keeping federal agencies in their respective lanes.
     To the extent legislators were concerned about state law at all, their
focus was on state laws that affirmatively conflict with the Act, not gen-
erally applicable state laws that in any way touch CFTC-regulated mar-
kets. See Dayton Power, 126 F.4th at 1130 (“[S]tate actions indirectly
affecting a federally regulated field are not necessarily preempted.”). For
example, Senator Curtis noted that the Act would only preempt state law
if it “were contrary to or inconsistent with Federal law.” See 120 Cong.
Rec. 30, 464 (Sept. 9, 1974), https://tinyurl.com/5n7nds2n. Senator Clark
likewise railed against incompatible state laws, like a hypothetical Ne-
braska law prohibiting futures trading in direct conflict with federal law.
See Commodity Futures Trading Commission Act: Hearings Before the
Senate Committee on Agriculture & Forestry, 93d Cong., 2d Sess. 685


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(1974). But there is no indication that Congress had the “clear and man-
ifest” intent to field preempt all state laws—much less state gambling

laws it has long accepted—just because they touch a market that also
happens to be regulated by the CFTC. See Sikkelee, 822 F.3d at 687.
      “From a practical standpoint, if [this Court] were to hold that the”
Commodity Exchange Act field preempts all state laws that in any way
touch a CFTC-regulated market, “consumers would be left with no pro-
tection against unfair or deceptive acts or practices.” Navient, 967 F.3d

at 294. That is partially because States’ general laws designed to protect
their residents—like deceptive-trade-practice, consumer-protection, and
sports-wagering laws—would all be preempted. But it is also because of
the Act’s self-certification system: the Act allows Kalshi to self-certify and
offer event contracts unless the CFTC steps in. 7 U.S.C. § 7a-2(c). And
because the CFTC has not stepped in—due to an immense workload, un-
derstaffing, or any other reason—Kalshi continues to offer sports wagers
on its platform in clear violation of both state and federal law. See 17
C.F.R. § 40.11(a)(1) (“A registered entity shall not list for trading” a
“swap” that “involves, relates to, or references,” “gaming, or an activity
that is unlawful under any State or Federal law.”); N.J. Stat. Ann.
§§ 5:12A-10, -11, -13(a). Yet Congress never thought it was exposing
Americans to the dangers of unregulated gambling (among many other
harms) by allowing companies like Kalshi to immunize themselves from
all state laws through the self-certification process.


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     “Taken to its logical conclusion, [Kalshi’s] proposed outcome here
would mean that” CFTC-regulated entities “would in theory be free to”

swindle customers, offer sports bets to minors, exploit compulsive gam-
blers, and facilitate other irresponsible gaming practices as long as they
self-certify first. Navient, 967 F.3d at 294. “That outcome is untenable.”
Id. There is no comprehensive federal scheme demonstrating a “complete
ouster of state power” such that usurping even complementary state laws
“was the clear and manifest purpose of Congress.” DeCanas, 424 U.S.

at 357.
           3.    Kalshi’s Conflict Preemption Theory Fails Be-
                 cause New Jersey Law Does Not Impede Effectua-
                 tion Of The Act.
     With no express preemption and no comprehensive scheme demon-
strating field preemption, Kalshi’s final refuge is conflict preemption. Alt-
hough the district court did not reach Kalshi’s arguments on this front,
they fail too. Conflict preemption arises only “where it is impossible for a
private party to comply with both state and federal law,” MD Mall Assocs.
v. CSX Transp., 715 F.3d 479, 495 (3d Cir. 2013), or where the state law
poses an obstacle to the full effectuation of a federal statute’s “text and
structure,” Garcia, 589 U.S. at 208. Here, everyone agrees it is not “im-
possible” for Kalshi “to comply with both state and federal law.” MD Mall

Assocs., 715 F.3d at 495; see PI Br. 18–21. So the issue is simply whether
New Jersey’s Sports Wagering Act poses an obstacle to the effectuation
of the Commodity Exchange Act. It does not.


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     In the very 2010 Dodd-Frank amendments on which Kalshi relies,
Congress specifically sought to prohibit the exact type of sports-wagering

event contracts Kalshi offers here. Under the special rule, Congress au-
thorized the CFTC to ban “transactions” or “swaps in excluded commod-
ities that are based upon the occurrence, extent of an occurrence, or
contingency” that involve, among other things, “gaming” or “activity that
is unlawful under any Federal or State law.” 7 U.S.C. § 7a-2(c)(5)(C)(i).
This was intended to “prevent gambling through futures markets” and

“protect the public interest from gaming contracts.” See 156 Cong. Rec.
S5902, S5906–07 (daily ed. July 15, 2010), https://tinyurl.com/57c352v4
(statements of Sen. Blanche Lincoln). As the author of the special rule
explained, it “would be quite easy to construct an ‘event contract’ around
sporting events such as the Super Bowl, the Kentucky Derby, and Mas-
ters Golf Tournament. These types of contracts would not serve any real
commercial purpose. Rather, they would be used solely for gambling.” Id.
     Unsurprisingly, then, the CFTC expressly prohibited these event
contracts by regulation: “A registered entity shall not list for trading” a
“swap” that “involves, relates to, or references,” among others, “gaming,
or an activity that is unlawful under any State or Federal law.” 4 17 C.F.R.

     4 To ensure that such event contracts are not improperly listed
through the self-certification process, the CFTC may engage in a 90-day
“review of the terms or conditions of” such self-certification to “deter-
mine” whether an event contract has been listed in violation of § 40.11(a)
and therefore should be removed. 17 C.F.R. § 40.11(c).


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§ 40.11(a)(1). And Kalshi knows this rule. As the company admitted in
other litigation, an event contract “involves ‘gaming’ if it is contingent on

a game or a game-related event.” Appellee’s Br. at 41, KalshiEX LLC v.
CFTC, No. 24-5205, 2024 WL 4802698 (D.C. Cir. Nov. 15, 2024). “The
classic example,” Kalshi admitted, “is a contract on the outcome of a
sporting event; as the legislative history directly confirms, Congress did
not want sports betting to be conducted on derivatives markets.” Id.
     Yet here we are. Kalshi is offering “gaming” event contracts on its

platform in direct contravention of federal law and nonetheless balking
at New Jersey’s attempt to prohibit the same conduct. 5 In any event,
there cannot be conflict preemption when federal and state law prohibit
the same conduct and the federal law specifically endorses the other. See
Zyla, 134 F.4th at 336 (“States may generally regulate the same conduct
the Federal Government does” and “especially so when state standards

mimic   federal   ones.”);   In   re   MDL   2700    Genentech    Herceptin
(Trastuzumab) Mktg. & Sales Prac. Litig., 960 F.3d 1210, 1234 (10th Cir.
2020) (no preemption where “the federal regulatory standard is precisely
the same as the state law standards sought to be imposed”); Pic-A-State
PA, Inc. v. Com. of Pa., 42 F.3d 175, 178 (3d Cir. 1994) (similar). Because


     5 To be clear, Kalshi can offer most of its sports-related event con-

tracts simply by obtaining a New Jersey license. See supra 4–5. The only
slice of sports wagers categorically prohibited in the State are college
sporting events involving New Jersey colleges or taking place in New Jer-
sey. See supra 4.

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the Commodity Exchange Act (and implementing regulation) prohibit
sports-related event contracts, New Jersey’s Sports Wagering Act does

not stand as an obstacle to the congressional scheme by prohibiting the
same thing.
     This leaves Kalshi with the untenable argument that New Jersey’s
sports-wagering laws are conflict preempted merely because the CFTC
has not yet attempted to enforce the Act against Kalshi’s sports-wagering
event contracts. See PI Br. 18–21. But “mere deliberate agency inaction”

will “not alone preempt state law.” Fellner v. Tri-Union Seafoods, L.L.C.,
539 F.3d 237, 247 (3d Cir. 2008). “The Supremacy Clause gives priority
to ‘the Laws of the United States,’ not the criminal law enforcement pri-
orities or preferences of federal officers.” Garcia, 589 U.S. at 212. So the
“mere fact that state laws” overlap with federal provisions (and have cor-
responding federal enforcement discretion) “does not even begin to make
a case for conflict preemption.” Id. at 211. “[M]any federal statutes grant
the Executive Branch extensive enforcement discretion,” but “those stat-
utes do not preclude parallel or non-parallel state regulation of the same
conduct.” Zyla, 134 F.4th at 338. In “the vast majority of cases where
federal and state laws overlap, allowing the States to” enforce their laws
“is entirely consistent with federal interests.” Garcia, 589 U.S. at 212.
     So it is here. The Commodity Exchange Act was intended to, among
other things, “deter and prevent price manipulation or any other disrup-




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tions to market integrity”; “protect all market participants from fraudu-
lent or other abusive sales practices and misuses of customer assets”; and

“promote responsible innovation and fair competition among boards of
trade, other markets and market participants.” 7 U.S.C. § 5(b). New Jer-
sey law furthers this scheme. The State has a comprehensive licensing
and regulatory regime that protects minors from gambling, N.J. Admin.
Code § 13:69O-1.2; ensures that sports-wagering operators are finan-
cially stable enough to cover outstanding sports wagers, N.J. Stat. Ann.

§ 5:12A-13(a); N.J. Admin. Code § 13:69N-1.2(d); facilitates detection and
reporting of suspicious or illegal betting activity, N.J. Stat. Ann. § 5:12A-
11(i); and employs security measures relating to anti-money laundering,
cyber security, and identity authentication, N.J. Admin. Code § 13:69O-
1.2. Just as for the Commodity Exchange Act, those requirements work
to “ensure the financial integrity of all transactions” and “protect all mar-
ket participants from fraudulent or other abusive sales practices and mis-
uses of customer assets.” 7 U.S.C. § 5(b).
     So conflict preemption is especially inapposite here. See CTS Corp.
v. Dynamics Corp. of Am., 481 U.S. 69, 82 (1987) (holding state law not
preempted because it “furthers a basic purpose” of the federal statute);
Green v. Fund Asset Mgmt., L.P., 245 F.3d 214, 226–28 (3d Cir. 2001)
(finding state law did not stand as an obstacle to federal securities law
where state law furthered the purpose and objectives of Congress). New
Jersey’s Sports Wagering Act has little to do with regulation of futures


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markets. Cf. Am. Agric. Movement, Inc., 977 F.2d at 1157 (“Laws of gen-
eral application … are preempted only when plaintiffs attempt to use

them in a manner that would, in effect, regulate the futures markets.”).
And nothing about the State’s licensure and regulatory requirements for
offering sports wagers in New Jersey, even when styled as event con-
tracts, impede the CFTC’s ability to regulate those event contracts. An
entity like Kalshi can obtain a license from New Jersey to offer sports
wagers and remain under CFTC oversight as a designated contract mar-

ket. See Brown v. Hotel & Rest. Emps. & Bartenders Int'l Union Loc. 54,
468 U.S. 491, 509 (1984); Strax v. Commodity Exch., Inc., 524 F. Supp.
936, 942 (S.D.N.Y. 1981).
     Despite Kalshi’s complaints, companies are subject to simultaneous
state and federal regulation all the time. Corporations across the country
routinely must comply with, for example, state and federal antitrust
laws, securities laws, drug-labeling laws, consumer-protection laws, and
many others. See, e.g., Wyeth, 555 U.S. at 581 (drug labeling); Cantor v.
Detroit Edison Co., 428 U.S. 579, 579 (1976) (antitrust); Davidson v.
Sprout Foods, Inc., 106 F.4th 842, 852 (9th Cir. 2024) (food labeling);
Green, 245 F.3d at 227 (securities); Spectrum Ne., LLC v. Frey, 22 F.4th
287, 301 (1st Cir. 2022) (consumer protection). The entire point of the
presumption against preemption is that States are the primary regula-
tors of health and safety. See supra 26–28. So the constitutional default




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is that companies like Kalshi will necessarily have to navigate interlock-
ing state and federal laws. Nothing in the Commodity Exchange Act or

New Jersey’s Sports Wagering Act compels a different result.

                             CONCLUSION
     This Court should reverse.


                             Respectfully submitted,

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Dated: June 10, 2025




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             CERTIFICATION OF BAR MEMBERSHIP

     I certify that I am a member in good standing of the bar of the U.S.

Court of Appeals for the Third Circuit.

                                   /s/ Stephen Ehrlich
                                   Stephen Ehrlich
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Dated: June 10, 2025

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     Under Fed. R. App. P. 32(g) and L.A.R. 31.1(c), I certify that:
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     I hereby certify that on June 10, 2025, I caused the Brief for Appel-
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                                    Deputy Solicitor General

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